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                           IN THE UNITED STATES DISTRICT COURT
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                          FOR THE NORTHERN DISTRICT OF ILLINOIS RTKH,OUM.SA.SDG
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                                                             CLE
                                     EASTERN DIVISION

     Whiteamire Clinic P.A., Inc.,                 )
                                                   )
                           Plaintiff,              )
                                                   )
            v.                                     ) No.: 1:24-cv-06753
                                                   )
     Cartridge World North America, LLC,           )
                                                   )
                           Defendants.             )

                 NOTICE OF THIRD-PARTY CITATION TO DISCOVER ASSETS

      Name of Case:                           Whiteamire Clinic P.A., Inc. v. Cartridge
                                              World North America, LLC
      Last Known Addresses of Judgment Debtor Cartridge World North America, LLC
      and Attorney for Judgment Debtor:       3917 Mercy Drive, McHenry, IL 60050
                                              Jeffrey Monberg, jeff.monberg@quarles.com,
                                              D. 312-715-5162
      Names and address of Attorney for       Ross M. Good, Esq.
      Judgment Creditor:                      The Good Law Group
                                              800 E. Northwest Hwy, Suite 814
                                              Palatine, IL 60074
                                              direct: (847) 600-9576
                                              ross@thegoodlawgroup.com
      Amount of Judgment:                     $ 4,293,000 + 28 U.S.C. § 1961 interest

      Name of Person Receiving Citation:               HORIZON INK L.C.
                                                       1112 S. Saginaw Road, Midland, MI 48640
     Return Date and Time:                                September 26, 2024 at 9:30 a.m.
     Location:                                       219 South Dearborn Street, Chicago, IL 60604 -Courtroom:1419


        NOTICE: The court has issued a citation against the person(s) named above. The citation directs
     that person(s) to appear in court to be examined for the purpose of allowing the judgment creditor
     to discover income and assets belonging to the judgment debtor or in which the judgment debtor
     has an interest. The citation(s) was/were issued on the basis of a judgment against the judgment
     debtor in favor of the judgment creditor in the amount stated above. On or after the court date
     stated above, the court may compel the application of any discovered income or assets toward
     payment on the judgment.

       The amount of income or assets that may be applied toward the judgment is limited by federal
     and Illinois law. The JUDGMENT DEBTOR HAS THE RIGHT TO ASSERT STATUTORY
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EXEMPTIONS AGAINST CERTAIN INCOME OR ASSETS OF THE JUDGMENT DEBTOR
WHICH MAY NOT BE USED TO SATISFY THE JUDGMENT IN THE AMOUNT STATED
ABOVE:

     (1) Under Illinois or federal law, the exemptions of personal property owned by the debtor
include the debtor's equity interest, not to exceed $4,000 in value, in any personal property as
chosen by the debtor; Social Security and SSI benefits; public assistance benefits; unemployment
compensation benefits; worker's compensation benefits; veteran's benefits; circuit breaker property
tax relief benefits; the debtor's equity interest, not to exceed $2,400 in value, in any one motor
vehicle, and the debtor's equity interest, not to exceed $1,500 in value, in any implements,
professional books, or tools of the trade of the debtor.
     (2) Under Illinois law, every person is entitled to an estate in homestead, when it is owned
and occupied as a residence, to the extent in value of $15,000, which homestead is exempt from
judgment.
     (3) Under Illinois law, the amount of wages that may be applied toward a judgment is limited
to the lesser of (i) 15% of gross weekly wages or (ii) the amount by which disposable earnings for
a week exceed the total of 45 times the federal minimum hourly wage or, under a wage deduction
summons served on or after January 1, 2006, the Illinois minimum hourly wage, whichever is
greater.
     (4) Under federal law, the amount of wages that may be applied toward a judgment is limited
to the lesser of (i) 25% of disposable earnings for a week or (ii) the amount by which disposable
earnings for a week exceed 30 times the federal minimum hourly wage.
     (5) Pension and retirement benefits and refunds may be claimed as exempt under Illinois law.
  The judgment debtor may have other possible exemptions under the law.

THE JUDGMENT DEBTOR HAS THE RIGHT AT THE CITATION HEARING TO DECLARE
EXEMPT CERTAIN INCOME OR ASSETS OR BOTH. The judgment debtor also has the right
to seek a declaration at an earlier date, by notifying the clerk in writing at 219 South Dearborn
Street, Chicago, Illinois 60604. When so notified, the Clerk of the Court will provide a hearing
date and the necessary forms that must be prepared by the judgment debtor or the attorney for the
judgment debtor and sent to the judgment creditor regarding the time and location of the hearing.
This notice may be sent by regular first-class mail.

                                             Respectfully Submitted,
                                             Whiteamire Clinic P.A., Inc.
                                             Plaintiff,

                                             _/s/Ross M. Good_____________
                                             One of Plaintiff’s Attorneys
Ross M. Good, Esq.
The Good Law Group
800 E. Northwest Hwy, Suite 814
Palatine, IL 60074
direct: (847) 600-9576
ross@thegoodlawgroup.com
Dated: August 19, 2024
     Case: 1:24-cv-06753 Document #: 4-4 Filed: 08/20/24 Page 3 of 3 PageID #:21




                          CERTIFICATE OF MAILING CITATION

I, Ross Good, an attorney, hereby certify that (i) within three (3) business days of service of the
Citation to Discover Assets upon the entities identified above, I served upon Cartridge World
North America, LLC, the Judgment Debtor, and his attorney, a copy of the Citation to Discover
Assets of a Third Party and the Citation Notice(s) via email and by prepaid certified United
States Mail, to the following addresses:

Cartridge World North America, LLC
3917 Mercy Drive
McHenry, IL 60050

Cartridge World North America, LLC
c/o C T CORPORATION SYSTEM
701 S CARSON ST, STE 200
Carson City, NV, 89701

Jeffrey Monberg, jeff.monberg@quarles.com
Quarles & Brady LLP
300 N. LaSalle Street, Suite 4000
Chicago, IL 60654-3406


and (ii) on August 19, 2024, I initiated service on the entities identified above at the addresses
identified above, with a copy of the Citation to Discover Assets via Certified Process Server.

Dated: August 19, 2024


_/s/Ross M. Good_____________
Ross M. Good, Esq.
The Good Law Group
800 E. Northwest Hwy, Suite 814
Palatine, IL 60074
direct: (847) 600-9576
ross@thegoodlawgroup.com
Dated: August 19, 2024
